      Case 19-30022-5-mcr                       Doc 2 Filed 01/12/19 Entered 01/12/19 14:50:01                                              Desc Ch 7
                                                 First Mtg Corp No POC Page 1 of 1
Information to identify the case:
Debtor
                River Meadows, LLC                                                               EIN 47−3481602
                Name


United States Bankruptcy Court Northern District of New York                                     Date case filed for chapter 7 1/11/19
Case number: 19−30022−5−mcr

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        River Meadows, LLC

2. All other names used in the dba James Square Nursing & Rehabilitation Centre
   last 8 years
3. Address                                   918 James St
                                             Syracuse, NY 13203

4. Debtor's attorney                         Stephen Z Starr
                                             Starr & Starr PLLC
    Name and address                         260 Madison Ave Fl 17
                                             New York, NY 10016

                                             Contact phone 212−867−8165
                                             Email: sstarr@starrandstarr.com
5. Bankruptcy trustee                        William J. Leberman−Trustee                                          Contact phone (315)478−1334
                                             One Lincoln Center                                                   Email: wleberman@lebermanlaw.com
    Name and address                         110 W. Fayette Street
                                             Suite 720
                                             Syracuse, NY 13202

6. Bankruptcy clerk's office                 James M. Hanley Federal Building                                     Office Hours: 9:00 A.M. to 4:00 P.M.
                                             100 South Clinton Street, Room 315
    Documents in this case may be            P.O. Box 7008
    filed at this address. You may                                                                                Contact phone (315) 295−1600
                                             Syracuse, NY 13261−7008
    inspect all records filed in this case
    at this office or online at                                                                                   Issued Date: 1/12/19
    www.pacer.gov.                           Court Website: www.nynb.uscourts.gov

7. Meeting of creditors                      February 15, 2019 at 11:15 AM                                        Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        James M. Hanley Courthouse, 100 S.
    questioned under oath. Creditors         so, the date will be on the court docket.                            Clinton Street, Room 207, Syracuse, NY
    may attend, but are not required to                                                                           13261
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
                                             If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of            that you may file a proof of claim and stating the deadline.
    claim unless you receive a notice
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
